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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

                                    4:06-CR-00410-06-BRW
VS.

HOLLIS G. BROWN

                                             ORDER

       Pending before this Court is the Unopposed Motion to Continue Revocation Hearing

(Doc. No. 279) filed by Hollis G. Brown. After a review of the Motion, the Court finds that the

Motion should be, GRANTED. The revocation hearing currently set for Mr. Brown on the Court’s

calendar for Friday, August 16, 2013, is cancelled and will be rescheduled for a later date.

       IT IS SO ORDERED this 13th day of August, 2013.


                                                  /s/Billy Roy Wilson
                                          UNITED STATES DISTRICT JUDGE
